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           EXHIBIT B
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                                                                                       MacElree Harvey, Ltd.
                                                                                       Attorneys at Law
                                                                                       209 East State Street
                                                                                       Kennett Square, PA 19348
                                                                                       610-444-3180 | main
                                                                                       macelree.com

                                                                                       Timothy F. Rayne
                                                                                       trayne@macelree.com
                                                                                       d| 610-840-0124
                                                                                       f| 610-444-3270
   September 21, 2022



   VIA EMAIL ONLY:
    dstrick@rawle.com

    Daniel S. Strick, Esquire
    Rawle & Henderson LLP
    725 Skippack Pike, Suite 230
    Blue Bell, PA 19422

   RE:     Our Client:                   Estate of Rita Petruzzi
           Date of Accident:            October 15, 2020
           File No.:                    21007
           Progressive Claim No.:       213882329

   Dear Mr. Strick:

   Attached is a clocked-in copy of the Complaint which has been filed. Please advise as to whether you are
   authorized to accept service on behalf of Oscar Texidor-Ramirez and Texidor Transport, LLC. If not, we
   will have the Complaint served in the accordance with the Rules of Civil Procedure.

   Thank you for your anticipated courtesy and cooperation.

   Sincerely,




   Timothy F. Rayne

   TFR/ejk
   Attach.




   cc:     Patrick Hickey, Esquire (Via Email Only)




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805113.10530
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                                                                            NOTICE TO PLEAD

                                                                YOU ARE HEREBY NOTIFIED TO FILE A
                                                                WRITTEN RESPONSE TO THE ENCLOSED NEW
                                                                MATTER WITHIN TWENTY (20) DAYS FROM
                                                                SERVICE HEREOF OR A JUDGMENT MAY BE
                                                                ENTERED AGAINST YOU.

                                                                Theodore P. Winicov
                                                                __________________________________________
                                                                THEODORE P. WINICOV, ESQUIRE


FORRY ULLMAN
By: Theodore P. Winicov, Esquire
Attorney I.D. No.: 37684
661 Moore Road, Suite 202
King of Prussia, PA 19406          Attorney for Defendant James Petruzzi
twinicov@forryullman.com
(610) 977-2975
 IN THE COURT OF COMMON PLEAS OF DELAWARE COUNTY, PENNSYLVANIA

PATRICK HICKEY, ESQUIRE, Special                        :
Administrator Pendente Lite of the Estate               :
Of Rita T. Petruzzi, Deceased                           :
                      Plaintiff                         :      CIVIL ACTION-LAW
               v.                                       :
                                                        :      NO.cv-2022-006947
OSCAR TEXIDOR-RAMIREZ,                                  :
TEXIDOR TRANSPORT, LLC and                              :
JAMES PETRUZZI,                                         :
                Defendants                              :      JURY TRIAL DEMANDED


 ANSWER TO COMPLAINT WITH NEW MATTER AND CROSS CLAIM PURSUANT
          TO Pa.R.C.P. 1031.1 OF DEFENDANT JAMES PETRUZZI

            1.-9.   Admitted upon information and belief.

            10.-11. Admitted.

            12.-14. Denied. After reasonable investigation, Defendant is without knowledge

sufficient to form a belief as to the truth of the matter asserted herein. Strict proof is demanded

at trial.

            15.-21. Admitted.

            22.-26. Denied. The allegations herein are conclusions of law to which no response is

required from Defendant.
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                                              COUNT I

          27.    Answering Defendant incorporates by reference his answers to paragraphs 1

through 26 as though fully set forth at length.

          28.-30. Denied. The allegations herein are conclusions of law to which no response is

required from Defendant.

          WHEREFORE, Defendant, James Petruzzi, demands judgment in his favor.

                                             COUNT II

          31.    Answering Defendant incorporates by reference his answers to paragraphs 1

through 30 a though fully set forth at length.

          32.    Denied. The allegations herein are conclusions of law to which no response is

required from Defendant.

          WHEREFORE, Defendant, James Petruzzi, demands judgment in his favor.

                                          NEW MATTER

          33.    Answering Defendant incorporates by reference the averments contained in

previous paragraphs of its Answer to Plaintiff’s Complaint as if the same were set forth at length

herein.

          34.    Plaintiff’s Complaint fails to state a legally sufficient claim against Answering

Defendant.

          35.    Plaintiff’s alleged damages may not be damages for which Answering Defendant

is legally liable.

          36.    Plaintiff’s cause of action is or may be barred or otherwise limited by the

Pennsylvania Motor Vehicle Financial Responsibility Law, 75 Pa.C.S.A. Section 1701, et seq.

          37.    Pursuant to the Pennsylvania Motor Vehicle Financial Responsibility Law,

Plaintiff is precluded from pleading, introducing into evidence, proving or recovering the amount

of benefits paid or payable under said Act up to and including the limit of required benefits under
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said Act. Answering Defendant hereby asserts all of the defenses, limitations, and immunities

available to it under said Act.

       38.     Plaintiff’s claims may be barred by the doctrines of res judicata and/or collateral

estoppel.

   CROSS CLAIM AGAINST CO-DEFENDANT OSCAR TEXIDOR-RAMIREZ AND
                     TEXIDOR TRANSPORT, LLC

       39.     Answering Defendant incorporates each of the averments contained within

paragraphs 1 through 38 as if the same were set forth at length herein.

       40.     If Plaintiff sustained the injuries and/or damages as alleged in their Complaint, all

of which injuries and damages are specifically denied by Answering Defendant, then the same

were not the result of any acts and/or omissions on the part of Answering Defendant, but rather

said injuries and/or damages were caused, in whole or in part, due to the acts, omissions,

negligence, carelessness and/or recklessness of Defendants, Oscar Texidor-Ramirez and Texidor

Transport, LLC for the reasons alleged in Plaintiff’s Complaint.

       41.     Answering Defendant files this Crossclaim to protect his rights of contribution

and indemnity should it be judicially determined that the Defendant in this matter is jointly

and/or severally liable to Plaintiff on the causes of action alleged by them, the existence of any

such liability being expressly denied.

       42.     If the allegations in Plaintiff’s Complaint are proven, which allegations are

expressly denied by Answering Defendant, then Defendants, Oscar Texidor-Ramirez and

Texidor Transport, LLC are solely liable to Plaintiff, jointly and/or severally liable with

Answering Defendant, or are liable over to Answering Defendant by way of contribution to the

Plaintiff and/or indemnity.

       WHEREFORE, Answering Defendant respectfully requests that this Honorable Court

sustain its New Matter and enter judgment in its favor and against all other parties to this action,

and that Defendants, Oscar Texidor-Ramirez and Texidor Transport, LLC be found liable to the
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Plaintiff, jointly and/or severally liable with Answering Defendant to the Plaintiff, or that

Defendants, Oscar Texidor-Ramirez and Texidor Transport, LLC are liable over to Answering

Defendant for any damages which Answering Defendant might be forced to pay to the Plaintiff

on the cause of action declared upon by them.


                                                      FORRY ULLMAN

                                                      Theodore P. Winicov
                                              BY:     ___________________________________
                                                      THEODORE P. WINICOV, ESQUIRE
                                                      Attorney for Defendant James Petruzzi

Date: 10/4/2022
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FORRY ULLMAN
By: Theodore P. Winicov, Esquire
Attorney I.D. No.: 37684
661 Moore Road, Suite 202
King of Prussia, PA 19406          Attorney for Defendant James Petruzzi
twinicov@forryullman.com
(610) 977-2975
 IN THE COURT OF COMMON PLEAS OF DELAWARE COUNTY, PENNSYLVANIA

PATRICK HICKEY, ESQUIRE, Special                   :
Administrator Pendente Lite of the Estate          :
Of Rita T. Petruzzi, Deceased                      :
                      Plaintiff                    :      CIVIL ACTION-LAW
               v.                                  :
                                                   :      NO.cv-2022-006947
OSCAR TEXIDOR-RAMIREZ,                             :
TEXIDOR TRANSPORT, LLC and                         :
JAMES PETRUZZI,                                    :
                Defendants                         :      JURY TRIAL DEMANDED


                               CERTIFICATE OF SERVICE

       I, Theodore P. Winicov, Esquire, certify that I filed the foregoing Answer with New

Matter and New Matter Cross Claim behalf of Defendant James Petruzzi with the Delaware

County Courts. The parties will be notified of same through the Court’s electronic mail system.



                                                   FORRY ULLMAN

                                                   Theodore P. Winicov
                                            BY:    ___________________________________
                                                   THEODORE P. WINICOV, ESQUIRE
                                                   Attorney for Defendant James Petruzzi

Date: 10/4/2022
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                                         VERIFICATION

       I, Theodore P. Winicov, Esquire, pursuant to Pa. R.C.P. 1024 (c) state that I represent

Defendant, James Petruzzi in the foregoing action and that as such I am authorized to act on their

behalf. I further aver that the facts set forth in the attached are true and correct upon information

and belief. Further, Defendant is currently residing in Cornville, AZ, outside of the Court’s

jurisdiction and Defendant’s verification cannot be obtained within the time allowed for filing

this pleading. I understand that false statements are made subject to the penalties of 18

Pa.C.S.A. 4904 relating to unsworn falsifications to authorities.



                                              Theodore P. Winicov
                                              _______________________________________
                                              Theodore P. Winicov



Date: 10/4/2022
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RAWLE & HENDERSON LLP
By: Daniel S. Strick, Esquire
PA Id. No.: 88381
725 Skippack Pike, Suite 230
Blue Bell, PA 19422
610-940-4092
dstrick@rawle.com
Attorneys for Defendants Oscar Texidor-Ramirez
and Texidor Transport, LLC

PATRICK HICKEY, ESQUIRE, Special
Administrator Pendente Lite of the Estate of
Rita T. Petruzzi, Deceased,                           IN THE COURT OF COMMON PLEAS
                                                           OF DELAWARE COUNTY,
                             Plaintiff,                        PENNSYLVANIA

              v.                                                    Civil Division

OSCAR TEXIDOR-RAMIREZ, TEXIDOR                                  No. CV-2022-006947
TRANSPORT, LLC, and JAMES PETRUZZI,

                             Defendants.

                                ACCEPTANCE OF SERVICE

       I, Daniel S. Strick, Esquire, attorney for Defendants Oscar Texidor Ramirez and Texidor

Transport, LLC, agree to accept service of the Plaintiff’s Complaint effective September 22,

2022, on behalf of for Defendants Oscar Texidor Ramirez and Texidor Transport, LLC only.

                                                    RAWLE & HENDERSON LLP


                                                    By:
                                                           Daniel S. Strick, Esquire
                                                           725 Skippack Pike, Suite 230
                                                           Blue Bell, PA 19422
                                                           (610) 940-4092
                                                           dstrick@rawle.com
                                                           Attorneys for Defendants Oscar
                                                           Texidor-Ramirez and Texidor
                                                           Transport, LLC
Date: September 23, 2022
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                               CERTIFICATE OF SERVICE

       I, Daniel S. Strick, Esquire, attorney for Defendants Oscar Texidor-Ramirez and Texidor

Transport, LLC hereby certify that a true and correct copy of the foregoing Acceptance of

Service of the Complaint has been submitted to the following via ECF and/or electronic mail:

                                  Timothy F. Rayne, Esquire
                                   MacElree Harvey, LTd.
                                     209 East State Street
                                  Kennett Square, PA 19348
                                    trayne@macelree.com




                                                    Daniel S. Strick

Date: September 23, 2022
